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Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 2 of 37 PageID #:2
Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 3 of 37 PageID #:3
Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 4 of 37 PageID #:4
Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 5 of 37 PageID #:5
Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 6 of 37 PageID #:6
Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 7 of 37 PageID #:7
Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 8 of 37 PageID #:8
Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 9 of 37 PageID #:9
Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 10 of 37 PageID #:10
Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 11 of 37 PageID #:11
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Case: 1:21-cv-00351 Document #: 1 Filed: 01/21/21 Page 35 of 37 PageID #:35
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